     Case 8:19-cr-00061-JVS Document 560 Filed 07/20/21 Page 1 of 38 Page ID #:9517



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13   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
14
                              UNITED STATES DISTRICT COURT
15
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     UNITED STATES OF AMERICA,                 No. SA CR 19-061-JVS
17
                Plaintiff,                     GOVERNMENT’S EXHIBIT LIST
18
                      v.                       Trial: July 13, 2021
19                                             Location:     Courtroom of the
     MICHAEL JOHN AVENATTI,                                  Hon. James V. Selna
20
                Defendant.
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 1         Plaintiff United States of America, by and through its counsel

 2   of record, the Acting United States Attorney for the Central District

 3   of California and Assistant United States Attorneys Brett A. Sagel

 4   and Alexander C.K. Wyman, hereby files its Exhibit List.

 5

 6    Dated: July 20, 2021                 Respectfully submitted,

 7                                         TRACY L. WILKISON
                                           Acting United States Attorney
 8
                                           SCOTT M. GARRINGER
 9                                         Assistant United States Attorney
                                           Chief, Criminal Division
10

11                                               /s/
                                           BRETT A. SAGEL
12                                         ALEXANDER C.K. WYMAN
                                           Assistant United States Attorneys
13
                                           Attorneys for Plaintiff
14                                         UNITED STATES OF AMERICA
15

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                 UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                         IDENT.    IN EVID.

   1      Attorney-Client Fee Contract Between EA and
          G. Johnson 11/8/2011

   2      Attorneys’ Fees Sharing Agreement Between
          EA, R. Baeda, and G. Johnson 11/8/2011

   3      2/17/2012 Email between Avenatti and Ruth
          Johnson

   4      9/7/2012 Email from Regnier to Avenatti re
          Johnson with Attachment

   5      10/15/2012 Email from Regnier to Avenatti
          re CareMeridian with Attachment

   6      CareMeridian Complaint Against Johnson and
          Avenatti 11/15/2012

   7      12/14/2012 Email from Mosby to Avenatti and
          others re Johnson with Attachment

   8      3/11/2013 Email from Regnier to Avenatti re
          Funds

   9      3/15/2013 Emails between Avenatti and
          Regnier re Geoff Johnson

  10      3/15/2013 Email from Regnier to Avenatti re
          Geoff Johnson

  11      Settlement Agreement, General Release, and
          Stipulation for Entry of Judgment with
          CareMeridian 11/21/2013

  12      New Case Data Sheet for McNicholas &
          McNicholas re Geoffrey Ernest Johnson
          5/12/2014

  13      6/11/2014 Email from Regnier to Avenatti re
          Geoff Johnson


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                 UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                         IDENT.    IN EVID.

  14      10/7/2014 Email from Avenatti to Colorado,
          McNicholas, and others re Johnson Mediation
          with Judge Meisinger

  15      10/16/2014 Letter from Avenatti to Hon. L.
          Meisinger re Geoffrey Johnson

  16      10/17/2014 Regnier Email to Avenatti re
          Johnson Mediation

  17      Attorney Fee Split Agreement Between
          McNicholas and EA 10/20/2014

  18      ADR Services Inc. Invoice for $5,390
          10/22/2014

  19      10/23/2014 Email from McNicholas re Johnson
          v. COLA

  20      Intentionally Blank

  21      10/31/2014 Email between Avenatti and
          others re Johnson

  22      11/7/2014 Transcript of Proceedings in
          Johnson v. Baca, CV 13-4496-MMM-AJW

  23      11/10/2014 Email from McNicholas re Johnson
          v. COLA settlement status

  24      11/11/2014 Emails with Avenatti re Johnson
          - Draft Settlement Agreement with
          Attachment

  25      11/12/2014 Email from Avenatti to The
          Peoples Bank re Eagan Avenatti Credit
          Facility

  26      11/17/2014 Email from Avenatti to Hurrell
          re Johnson


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                 UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                         IDENT.    IN EVID.

  27      11/22/2014 Email from Regnier to Avenatti
          re Finances

  28      12/2/2014 Email from Regnier to Phan and
          Hurrell re Johnson v. Baca with Attachment

  29      12/3/2014 Email from Avenatti to Phan and
          Others re Johnson - Executed Settlement
          Agreement

  30      12/8/2014 Email from Hurrell to Avenatti re
          Johnson - Executed Settlement Agreement

  31      12/11/2014 Joint Report in Johnson v. Baca,
          CV 13-4496-MMM-AJW

  32      1/6/2015 Email from Avenatti to Hurrell re
          Johnson - Joint Report re settlement

  33      1/8/2015 Email from Hurrell to Avenatti re
          G. Johnson

  34      1/12/2015 Email from Avenatti to Hurrell re
          Johnson - Executed Settlement Agreement

  35      Email from Hurrell to Avenatti re G.
          Johnson

  36      1/21/2015 Email from Regnier to Mosby re
          Johnson - Executed Settlement Agreement

  37      1/22/2015 Letter from Phan to Avenatti and
          McNicholas re Johnson v. Baca with
          Settlement Agreement

  38      1/22/2015 Email from Hurrell to Avenatti re
          Signature Page - Johnson Settlement with
          Attachment




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                 UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                         IDENT.    IN EVID.

  39      1/27/2015 Email from Maxwell to Avenatti
          and McDonald re Garnishment Global Baristas
          US

  40      1/29/2015 Letter from Phan to Avenatti re
          Settlement Check and Stipulated Dismissal

  41      Check and Deposit Slip for Johnson
          Settlement Funds

  42      Intentionally Blank

  43      1/30/2015 Email from Regnier to Avenatti re
          Wire

  44      1/30/2015 Email from Regnier to Avenatti re
          Wires - It Worked with Attachment

  45      1/31/2015 EA Deposit Detail - January 2015

  46      2/3/2015 Email from Regnier to Avenatti
          Attaching Johnson Fee Agreement

  47      McNicholas & McNicholas Client Costs
          Advanced re Johnson v. Baca

  48      2/4/2015 email from Regnier to Avenatti
          with Updated Johnson Cost Bill Attached

  49      Intentionally Blank

  50      2/4/2015 Email from Regnier to Avenatti re
          Johnson with Attachment (Costs)

  51      2/4/2015 Email from McNicholas to Avenatti
          and Sims re Johnson Stipulation for
          Dismissal

  52      Intentionally Blank



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                 UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                         IDENT.    IN EVID.

  53      Check from EA Trust Account 8541 dated
          4/1/2015 to McNicholas & McNicholas Client
          Trust Account for $350,000

  54      McNicholas & McNicholas Case Accounting
          Sheet for Johnson v. Baca 4/6/2015

  55      4/8/2015 Email from Regnier to Avenatti re
          Msg- Geoff Johnson

  56      4/28/2015 Email from Regnier to Avenatti re
          Geoff Johnson

  57      5/6/2015 Email from Regnier to Avenatti re
          Geoff Johnson - SSI with Attachment

  58      5/6/2015 Email from Avenatti to Regnier re
          Geoff Johnson – SSI

  59      5/13/2015 Email from Johnson to Regnier re
          Special Needs Trust

  60      5/13/2015 Email from Johnson to Regnier re
          Geoff Johnson with Attachment

  61      5/14/2015 Email from Regnier to Avenatti re
          Geoff Johnson with Attachment (SNT Help
          info)

  62      7/16/2015 Email from Masry to Avenatti re
          Geoff Johnson - Preliminary Proposals –
          Attachments

  63      8/27/2015 Email from Regnier to Avenatti re
          Johnson - Questionnaire with Attachment

  64      12/22/2015 Email from Regnier to Avenatti
          re Finances




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                 UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                         IDENT.    IN EVID.

  65      3/14/2016 Social Security letter to G.
          Johnson

  66      Intentionally Blank

  67      3/15/2016 Email from Regnier to Avenatti re
          Johnson

  68      Intentionally Blank

  69      3/31/2016 Email between Avenatti and
          Regnier re Address for freedom to live

  70      4/13/2016 Letter from Avenatti to SSA re
          Geoffrey Ernest Johnson

  71      8/1/2016 Email from Regnier to Avenatti re
          Address for freedom to live

  72      Intentionally Blank

  73      8/31/2016 Email from Regnier to Avenatti re
          Checks

  74      1/24/2017 Email from Regnier to Avenatti re
          Geoff Called

  75      3/7/2017 Regnier Email to Avenatti re
          Potential Homes for Geoff

  76      5/1/2017 Email from Goeders with Offer by
          Johnson to Purchase Property

  77      5/3/2017 email from Avenatti to Goeders re
          Funds Letter - Geoff Johnson

  78      5/3/2017 Email from Regnier to Avenatti re
          Need Letter of Letterhead with Attachment




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                 UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                         IDENT.    IN EVID.

  79      5/31/2017 Purchase Agreement for the G.
          Johnson Trust to Purchase Parthenia
          Property

  80      8/21/2017 Email from Goeders to Avenatti re
          Parthenia

  81      8/31/2017 Email from Goeders to Avenatti re
          Parthenia - possible solution

  82      9/8/2017 Email from Goeders to Napolitano

  83      9/20/2017 Email from Avenatti to Yeghishian
          and Regnier re 21923 Parthenia Street

  84      9/27/2017 Email from Avenatti to Goeders
          with Escrow Addendum

  85      10/2/2017 Email from Avenatti to Regnier re
          New LLC

  86      10/3/2017 Email from Berg to Regnier re
          21923 PARTHENIA STREET, LLC with Attachment

  87      10/5/2017 Emails between Yeghishian,
          Regnier, and Avenatti re 21923 Parthenia
          Street

  88      10/10/2017 Email from Goeders to Yeghishian
          re Parthenia

  89      10/13/2017 Email from Avenatti to Goeders
          re 21923 Parthenia Street – New LOI

  90      10/13/2017 Email from Yeghishian to
          Avenatti and others re 21923 Parthenia
          Street - New Johnson LOI




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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

  91      10/13/2017 Email from Avenatti to
          Yeghishian and others re 21923 Parthenia
          St. New LOI

  92      10/13/2017 Email from Yeghishian to
          Avenatti re 21923 Parthenia Street - New
          LOI

  93      10/13/2017 Email from Goeders to Newman re
          Parthenia

  94      10/16/2017 Email from Regnier to Yeghishian
          and Avenatti re 21923 Parthenia with
          attachments

  95      10/16/2017 Email from Regnier to Yeghishian
          and Avenatti re 21923 Parthenia with
          attachment

  96      10/16/2017 Email from Yeghishian to
          Avenatti re 21923 Parthenia Street - New
          LOI

  97      10/18/2017 Email from Yeghishian to
          Avenatti re Parthenia - 3rd Followup

  98      11/1/2017 Email Chain Between Goeders and
          Tiratsuyan re Parthenia Property
          Cancellation

  99      11/7/2017 Email Between Goeders and
          Tiratsuyan re Parthenia

  100     3/12/2018 Email from Regnier to Avenatti re
          Stuff

  101     3/12/2018 Email from Regnier to Avenatti re
          Geoff




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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

  102     EA Income by Customer Detail - Johnson
          6/25/2018

  103     8/19/2018 Email from Johnson to Regnier re
          Deposit

  104     Intentionally Blank

  105     9/10/2018 Email from Regnier to Avenatti re
          Good and Bad Today

  106     9/12/2018 Email from Johnson to Regnier and
          Avenatti re Would it be helpful to get all
          requests into one email?

  107     9/13/2018 Email from Regnier to Avenatti re
          From Today

  108     11/1/2018 Letter from SSA Manager to
          Johnson

  109     11/7/2018 voicemail to Avenatti and Regnier
          from Johnson

  110     12/5/2018 Email from Regnier to Avenatti re
          Geoff Johnson with Attachments

  111     1/3/2019 email from Johnson to Regnier re
          Dental work and deposit

  112     1/31/2019 email from Johnson to Regnier
          forwarded to Avenatti re Rent

  113     2/1/2019 Email from Regnier to Avenatti re
          Geoff Johnson SSI with Attachments

  114     Geoffrey Johnson Text Messages

  115     3/23/2019 General Release re Johnson
          (unsigned)


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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

  116     3/23/2019 Client Testimonial Agreement re
          Johnson (unsigned)

  117     Johnson Text Messages with Puchlevich

  118     Johnson Text Messages with Regnier

  119     Johnson Text Messages with Avenatti and
          Regnier

  120     Johnson Text Messages with Avenatti

  121     Johnson approval 3/23/2019 (signed)

  122     Johnson settlement 3/23/2019 (signed)

  123     Johnson Text Messages with Goeders

  124     Goeders Text Messages with Avenatti

  125     Intentionally Blank

  126     Intentionally Blank

  127     Intentionally Blank

  128     Intentionally Blank

  129     Intentionally Blank

  130     8/1/2016 Email from M. Avenatti to F.
          Marchino with Attachment

  131     9/16/2016 Email from R. Mize to M. Avenatti
          and F. Marchino re Honda Jet with
          Attachment

  132     Attorney-Client Fee Contract with A.
          Gardner - Signed 12/5/2016



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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

  133     Intentionally Blank

  134     Intentionally Blank

  135     12/22/2016 Email from Avenatti to Weiner
          and Hon. Meisinger re Judge Meisinger -
          confidential mediation on January 7 with
          Attachment

  136     12/22/2016 Email from Regnier to Roads re
          Further Assurances letter with Attachment

  137     12/22/2016 Email from Avenatti to Regnier
          re Draft Settlement Agreement with
          Attachment

  138     1/26/2017 Email from Avenatti to Regnier re
          Wire Instructions with Attachment

  139     1/7/2017 Settlement Agreement Between
          Gardner and Whiteside

  140     1/10/2017 email from Regnier to Parrish re
          Wire Instructions for HondaJet

  141     1/16/2017 Email from Avenatti to Weiner re
          Call

  142     1/19/2017 email from Avenatti to Regnier re
          Draft Letter

  143     1/20/2017 emails between Avenatti and
          Regnier re Draft Letter

  144     1/20/2017 Email from Avenatti to Weiner re
          Call

  145     1/20/2017 Voicemail from Avenatti to Weiner




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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

  146     1/23/2017 Email from Regnier to Avenatti re
          Alexis Gardner Lease with Attachment

  147     1/24/2017 Cashier’s Check to Rachel Dourec
          for $51,935

  148     CBT Statement for EA Account 8671 –
          1/31/2017

  149     1/25/2017 2.75M Wire Confirmation

  150     1/25/2017 Email from Avenatti to Weiner re
          Call

  151     1/25/2017 Voicemail from Avenatti to Weiner

  152     Chase Statement for X Law Group Account
          7608 – 1/31/2017

  153     1/26/2017 Email from Marchino to Avenatti
          re Info with Attachment

  154     1/26/2017 Email to Avenatti and Regnier re
          SN29 – Financial Status of 5PM 1/26

  155     1/26/2017 Emails between Avenatti and
          Regnier re SN29 – Financial Status of 5PM
          1/26

  156     1/26/2017 Email from Avenatti to Ohman re
          SN29 – Financial Status of 5PM 1/26

  157     EA Income by Customer Detail - Gardner
          3/9/2017

  158     EA Payments to Alexis Gardner with Checks

  159     2/20/2018 Email from Regnier to CBT re
          Cashier’s Check - EA 4613



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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

  160     Gardner Text Messages with Avenatti

  161     Missed Call from M. Avenatti to Gardner –
          4/6/2018

  162     Cassaro Text Messages with Gardner

  163     5/23/2018 Email from Regnier to CBT re
          Cashier’s Check – EA 4613

  164     2/24/2019 Email from Gardner to Avenatti re
          Alexis Gardner Meeting Overview

  165     Missed Call from Avenatti to Gardner –
          3/29/2019

  166     2/17/19 Text Message between Regnier and
          Avenatti re Gardner account

  167     Intentionally Blank

  168     Intentionally Blank

  169     Intentionally Blank

  170     9/12/2014 Barela Engagement Letter Local
          Counsel

  171     9/16/2014 Email from Regnier to Barela re
          Barela IP Rights with Attachment

  172     8/10/2017 Email from Avenatti to Regnier re
          Coblantzlaw

  173     9/21/2017 Email from Regnier to Avenatti re
          Misc

  174     12/19/2017 Email from Regnier to Avenatti
          re Barela Cost Bill with Attachment



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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

  175     12/20/2017 Email from Avenatti to Sheikh re
          Barela-Brock Settlement

  176     Barela Text Messages - Forensic Report

  177     Intentionally Blank

  178     12/22/2017 Email to Avenatti re Barela-
          Brock Settlement

  179     12/23/2017 Email from Avenatti re Barela-
          Brock Settlement (Attaching MJA Revised
          Draft redline)

  180     12/26/2017 Email from Avenatti to JAG re
          Barela v. Brock

  181     12/27/2017 Email from Avenatti re Barela-
          Brock Settlement with Attachment

  182     Draft Barela Settlement Agreement
          12/20/2017

  183     12/28/2017 Email to Avenatti re Barela-
          Brock Settlement

  184     Barela Settlement Agreement with March
          Dates and No Signatures

  185     12/28/2017 Email to Avenatti and Regnier
          from Shved re IRS Notices Received in Mail

  186     12/28/2017 Email from Avenatti to Sheikh re
          Barela Signature Pages (with Attachments)

  187     12/29/2017 Email from Sheikh to Avenatti re
          Barela Signature Pages (with Attachments)

  188     12/29/2017 Filed Stipulated Dismissal of
          Barela Litigation


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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

  189     12/29/2017 Letter from Sheikh to Judge
          Boland re Barela v. Brock Dismissal

  190     1/2/2018 Email from Regnier to Avenatti re
          Wire Instruction

  191     1/2/2018 Email from Avenatti to Sheikh re
          Barela-Brock Settlement

  192     1/5/2018 Wire Brock USA 2018 Settlement
          Payment

  193     1/11/2018 Email from Regnier to CNB re
          Cashier’s Check for “Case Costs”

  194     1/16/2018 Email from Shved to Avenatti and
          Regnier re AP COGS and Urgent Utilities -
          approval needed with Attachment

  195     1/30/2018 Email to Avenatti re Dillanos
          Wire

  196     1/30/2018 Email from Shved to Regnier re
          Dillanos Wire due today

  197     1/31/2018 EA Deposit Detail - January 2018

  198     1/31/2018 Email from Avenatti to Regnier re
          Coblentz Wire Transfer with Attachment

  199     2/12/2018 Email from Regnier to Avenatti re
          Payments Due Today

  200     2/16/2018 Email from Avenatti to Regnier re
          Trust Wire Info with Attachment

  201     3/14/2018 Email from Barela to Avenatti re
          Nda




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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

  202     1/8/2018 Email from Regnier to CNB re
          Cashier’s Check

  203     4/2/2018 Email from Barela to Avenatti re
          Thanks!

  204     4/5/2018 Email from Barela to Avenatti re
          Wire and Brock

  205     4/16/2018 Email from Avenatti to Barela re
          Sunday call

  206     4/22/2018 Email from Barela to Avenatti re
          Sunday call

  207     5/7/2017 Email from Barela to Avenatti re
          action list

  208     5/15/2018 Email from Barela to Avenatti re
          Let’s talk as soon as you can!

  209     5/22/2018 Email from Barela to Avenatti and
          Regnier re Wire

  210     5/25/2018 (1:35) Email from Barela to
          Avenatti and J. Regnier re Wire

  211     5/25/2018 (6:47) Email from Barela to
          Avenatti and Regnier re Wire

  212     5/25/2018 (7:17) Email from Barela to
          Avenatti and Regnier re Wire

  213     5/25/2018 (7:48) Email from Avenatti to
          Regnier re Wire

  214     5/25/2018 (8:29) Email from Barela to
          Avenatti and Regnier re Wire




                                       16
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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

  215     5/25/2018 (9:10) Email from Barela to
          Avenatti and Regnier re Wire

  216     5/25/2018 (9:51) Email from Barela to
          Avenatti and Regnier re Wire

  217     5/25/2018 (6:48) Email from Regnier to
          Avenatti re Wire

  218     5/25/2018 (7:23) Email from Regnier to
          Avenatti re Wire with Attachment

  219     5/25/2018 (8:00) Email from Regnier to
          Barela and Avenatti re Wire with Attachment

  220     Intentionally Blank

  221     EA Income by Customer Detail - Barela

  222     6/25/2018 Email from Barela to Avenatti re
          Greg Barela list

  223     6/27/2018 Email from Barela to Regnier re
          wire

  224     6/29/2018 Email from Avenatti to Regnier re
          Barela Settlement Agreement

  225     7/23/2018 Email from Regnier to Avenatti re
          Second Request

  226     7/25/2018 Email from Avenatti to Barela re
          Intro from M. Avenatti

  227     7/26/2018 Email from Avenatti to Barela re
          Intro from M. Avenatti

  228     Confidential Settlement Agreement Between
          Brock and Barela - March Dates (with
          signatures)


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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

  229     8/22/2018 Email from Avenatti to Barela re
          GB list. Tomorrow is my big scary day!

  230     9/10/2018 Email from Barela to Avenatti and
          Regnier re Wire

  231     10/10/2018 Email from Barela to Avenatti re
          Need some help

  232     10/14/2018 Email from Barela to Avenatti re
          Action list

  233     10/22/2018 Email from Barela to Avenatti re
          List

  234     11/11/2018 Email from Barela to Avenatti re
          List

  235     Payments to Barela

  236     11/14/2018 Email from Barela to Avenatti re
          Brock and Barela

  237     11/17/2018 Letter to Avenatti from Larson
          O’Brien

  238     11/17/2018 Email from Avenatti to Barela re
          Contact

  239     11/17/2018 Voicemail from Avenatti to
          Barella

  240     Intentionally Blank

  241     11/19/2018 Email from Arden to Avenatti and
          Others re Gregory Barela - Proceeds of
          Confidential Settlement with Attachment




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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

  242     11/19/2018 Email from Ibrahim to Avenatti
          and Others re Gregory Barela - Proceeds of
          Confidential Settlement with Attachment

  243     11/20/2018 Letter from Ibrahim and Arden to
          Bledsoe re Brock v. Barela

  244     11/21/2018 Letter from Sheikh to Bledsoe re
          Confidential Settlement Agreement - Barela
          v. Brock

  245     Intentionally Blank

  246     12/1/2018 Email from Waterman to Avenatti
          and Regnier re Client file transfer request
          re Quix Supply, Inc. with Attachment

  247     12/6/2018 Email from Waterman to Avenatti
          and Regnier re Client file transfer request
          re Quix Supply, Inc. (Follow-Up) with
          Attachment

  248     12/10/2018 Email from Waterman to Avenatti
          and Regnier re Client file transfer request
          re Quix Supply, Inc. (Follow-Up) -
          Attachment 1

  249     12/6/2018 Email from Regnier to Avenatti re
          Client file transfer request re Quix
          Supply, Inc.

  250     12/11/2018 Email from Avenatti to Waterman
          and Barela

  251     CDCA Docket for Ryan Hendrix

  252     CDCA Docket for Ryan Hendrix – Designation
          Counsel

  253     WDPA Docket for Ryan Hendrix


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                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

  254     WDPA Docket for Ryan Hendrix – Pro Hac for
          Avenatti

  255     WDPA Docket for Ryan Hendrix – Pro Hac for
          Gailey

  256     11/19/18 Letter from Barela to Avenatti re
          Request for Transfer of File and Client
          Funds

  257     12/3/18 Letter from Larson O’Brien to
          Avenatti

  258     11/15/2019 Stipulation as to Facts State
          Bar Court

  259     Intentionally Blank

  260     11/8/17 Text Messages from Regnier’s iPhone
          6s

  261     2/22/18 Text Messages from Regnier’s iPad
          Pro

  262     3/22/19 Text Message from Regnier’s iPhone
          8Plus

  263     8/14/18 Text Message from Regnier’s iPhone
          8Plus

  264     Intentionally Blank

  265     3/1/2017 Email from Avenatti to Tran re
          ipsy

  266     8/15/2017 Email from Tran to Avenatti and
          Marchino re Executed Fee Agreement

  267     8/16/2017 Email from Avenatti to Tran and
          Marchino re Signature Page with Attachment


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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

  268     Phan Personalized Beauty Discovery, Inc.
          Common Stock Repurchase Agreement 9/17/2017

  269     9/18/2017 Email from Avenatti to Regnier re
          Wire Instructions with Attachment

  270     9/21/2017 Email from Avenatti to Regnier re
          Wire Info

  271     9/21/2017 Email from Avenatti to Tran re
          Wire Received

  272     3/8/2018 Email from Tong to Phan re ipsy
          common stock repurchase agreement

  273     3/8/2018 Email from Tong to Tran re ipsy
          common stock repurchase agreement

  274     Tran Text Messages with Marchino

  275     3/14/2018 Email from Tran to Avenatti,
          Regnier, and Marchino re Wire Info

  276     3/15/2018 Email from Regnier to Avenatti re
          Due today – tomorrow

  277     3/21/2018 Email from Regnier

  278     Tran Text Messages with Avenatti

  279     4/23/2018 Email from Regnier to Avenatti re
          Funds - just a recap all ok

  280     4/26/2018 Email from Tran to Avenatti and
          Regnier re Wire Fed Ref #

  281     5/1/2018 Emails Between Tran, Avenatti, and
          Regnier re Michelle Wire




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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

  282     5/10/2018 (9:38) Email from Regnier to
          Avenatti re Emailing – Wire Confirm (with
          Attachment)

  283     5/10/2018 (3:18) Email from Regnier to
          Avenatti re Emailing – Wire Confirm (with
          Attachment)

  284     5/11/2018 Email from Marchino to Tran re
          Wire Confirmation

  285     5/11/2018 Email from Tran to Marchino re
          Michelle Phan

  286     5/11/2018 Email from Regnier to Avenatti re
          Emailing – Avenatti wire trs 5-4-18 4M to
          Michelle Phan

  287     5/15/2018 Email from Marchino to Avenatti
          re Per Our Conversation

  288     8/7/2018 Email from Regnier to Avenatti re
          Corr from Orrick - Phan with Attachment

  289     Intentionally Blank

  290     12/12/2018 Email from Regnier to Avenatti
          re NBPD Message re Phan

  291     12/12/2018 (10:32:20) Email from Regnier to
          Avenatti with 3 emails attached

  292     12/12/2018 (10:32:32) Email from Regnier to
          Avenatti with 12 emails attached

  293     12/12/2018 (10:32:44) Email from Regnier to
          Avenatti with 7 emails attached

  294     Phan Text Messages with Avenatti



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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

  295     Tran Cell Phone logs with Avenatti

  296     Common Stock Repurchase Agreement between
          Personalized Beauty Discovery, Inc. and
          Long Tran

  297     Intentionally Blank

  298     Intentionally Blank

  299     Intentionally Blank

  300     Intentionally Blank

  301     EA Letter re NFL Super Bowl Litigation --
          Susko 2/17/2012

  302     Greco v. Jones Plaintiff Settlement
          Authorization - Susko 3/14/2017

  303     3/26/2017 Email from Colorado to Kirk

  304     4/26/2017 Email from Behrens to Ayres and
          Others re Greco v. NFL with Attachments

  305     5/2/2017 Email from Avenatti to Ayres and
          Regnier re Greco - Please Review

  306     5/4/2017 Email from Avenatti to Court re
          Greco v. National Football League

  307     5/6/2017 Email from Avenatti to Behrens and
          Others with Attachment

  308     5/10/2017 Email from Ayres to Avenatti re
          Wire Plans

  309     5/10/2017 Email from Ayres to Behrens re
          Wiring Instructions



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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

  310     5/12/2017 Email from Behrens to Avenatti
          and Others re NFL - Confidential Settlement
          Agreement and Release with Attachment

  311     5/15/2017 Email from Avenatti to Ayres and
          Others re Wire Plans

  312     5/31/2017 EA Deposit Detail - May 2017

  313     Ayres Northern Trust Statement 5/31/2017

  314     7/25/2017 Email from Regnier to Avenatti re
          NFL callers

  315     9/28/2017 Email from McMaster to Regnier
          and Colorado re NFL suit

  316     10/24/2017 Email from Susko to Regnier re
          2nd. Request

  317     11/15/2017 Email from Regnier to Avenatti
          re NFL Callers

  318     11/15/2017 Email from Regnier to Susko re
          NFL CASE/DALLAS/SUPERBOWL

  319     11/17/2017 Cashier’s Check from EA to Susko

  320     11/20/2017 Email from Regnier to Avenatti
          re NFL CASE/DALLAS/SUPERBOWL

  321     11/21/2017 Email from Avenatti to Susko and
          others re NFL Superbowl Case/Dallas

  322     11/23/2017 Email from Regnier to Susko re
          NFL Superbowl Case with Attached Letter

  323     12/6/2017 Email from McBee to Colorado re
          NFL Litigation - Immediate Action Required



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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

  324     Intentionally Blank

  325     12/7/2017 Email from Regnier to Avenatti re
          Stuff

  326     12/13/2017 Email from Regnier to Susko re
          NFL Case Dallas Super Bowl

  327     1/19/2018 Email from Avenatti to Regnier Re
          Dallas Super Bowl Case

  328     2/20/2018 Email from Regnier to Avenatti
          and Susko re Conf Call

  329     EA Income by Customer Detail - NFL

  330     6/20/2018 Email from Regnier to Avenatti re
          NFL- Henciak/Wagler Payments with
          Attachment

  331     10/17/2018 Email from Dispatch to Avenatti
          and Regnier re Voicemail from D. Weissman

  332     12/17/2018 Email from Regnier to Avenatti
          re NFL Callers

  333     12/18/2018 Email from Regnier to Avenatti
          re Emergency Caller David Weissman

  334     3/5/2019 Email from Shento to Colorado re
          Super Bowl XLV Lawsuit - Settlement
          Information

  335     Intentionally Blank

  336     Intentionally Blank

  337     Intentionally Blank

  338     Intentionally Blank


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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

  339     Intentionally Blank

  340     EA Involuntary Bankruptcy - Submission of
          Amended Schedules - 6/7/2017

  341     EA Involuntary Bankruptcy - Monthly
          Operating Report Disbursement Summary -
          6/19/2017

  342     Avenatti Motion for Order Approving
          Settlement and Dismissing Case and
          Declaration of Avenatti 1/30/2018

  343     EA Involuntary Bankruptcy - Cash Receipts
          and Disbursements - 2/15/2018

  344     3/15/2018 Declaration of Mark Horoupian
          Relating to Avenatti’s Motion for Order
          Approving Settlement and Dismissing Case

  345     5/27/2015 CBT Email to Avenatti and Regnier
          re Global Baristas

  346     1/3/2016 Email from Avenatti to Regnier re
          attached image

  347     6/30/2016 Exclusive Resorts Membership
          Purchase Agreement

  348     Limited Liability Company Operating
          Agreement of Passport 420, LLC 7/11/2016

  349     1/27/2017 Addendum to HondaJet Purchase
          Agreement Delivery Receipt

  350     1/27/2017 Honda Aircraft Company Letter re
          Post Delivery Commitments, Aircraft Serial
          Number 42000029, Contract Number 40000316




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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

  351     12/19/2018 Email from Regnier to Avenatti
          re Augustus LLP - Attachment

  352     12/19/2018 Email from Regnier to Avenatti
          re AUGUSTUS EIN with Attachment

  353     12/20/2018 Secretary of State filing for
          Augustus LLP

  354     1/5/2019 email from Regnier to Avenatti re
          Augustus Secretary of State conformed with
          Attachment

  355     2/12/2019 Email from Regnier to Avenatti re
          Augustus LLP Documents with Attachments

  356     Checks to Freedom to Live - AA 0661

  357     Signature Card - AA 0661

  358     Statements - AA 0661 - 1.1.2015-4.30.2015

  359     Statements - AA 0661 - 1.1.2017-2.28.2017

  360     Statements - AA 0661 - 3.1.2018-8.31.2018

  361     Cashier’s Checks - CNB 3504

  362     Checks - CNB 3504

  363     Deposits - CNB 3504

  364     Outgoing Wires - CNB 3504

  365     Signature Card - CNB 3504

  366     Statements - CNB 3504 - 5.11.2017-2.28.2018

  367     Checks - CNB 4705



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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

  368     Statements - CNB 4705

  369     Wires - CNB 4705

  370     Statements - CNB 5566

  371     Transaction Detail Report - CNB 5566

  372     Wires - CNB 5566

  373     Signature Card - CNB 8611

  374     Wires - CNB 8611

  375     Cashier’s Checks - EA 2851

  376     Checking Account Debit to R. Dourec - EA
          2851

  377     Checks - EA 2851 - 1.30.2015-3.30.2015

  378     Checks to Freedom to Live - EA 2851

  379     Checks to G. Johnson - EA 2851

  380     Checks to Sunrise of West Hills - EA 2851

  381     Signature Card - EA 2851

  382     Statement - EA 2851 - 1.31.2017

  383     Statement - EA 2851 - 5.31.2017

  384     Statements - EA 2851 - 1.30.2015-3.30.2015

  385     Signature Card - EA 8671, EA 3714, EA 4613

  386     Statements - EA 3714

  387     Statements - EA 4613


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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

  388     Checks - EA 8541

  389     Intentionally Blank

  390     Signature Card - EA 8541

  391     Statements - EA 8541

  392     3/26/18 SulmeyerKupetz Check to IRS

  393     People’s Bank Custodian of Records
          Declaration

  394     California Bank & Trust Custodian of
          Records Declaration

  395     Chase Custodian of Records Declaration

  396     Honda Aircraft Company Custodian of Records
          Declaration

  397     City National Bank Custodian of Records
          Declaration

  398     Intentionally Blank

  399     Intentionally Blank

  400     6/12/2017 Section 341 Hearing Transcript in
          Eagan Avenatti Bankruptcy

  401     7/14/2017 Section 341 Hearing Transcript in
          Eagan Avenatti Bankruptcy

  402     7/25/2018 Transcript of Avenatti Debtor
          Proceedings

  403     1/30/2019 Judgment Debtor Examination
          Transcript of Avenatti Vol. I



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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

  404     3/15/2019, Morning Session, Judgment Debtor
          Examination of Avenatti

  405     3/22/2019 Transcript of Avenatti Judgment
          Debtor Examination (Part I)

  406     3/22/2019 Transcript of Avenatti Judgment
          Debtor Examination (Part II)

  407     3/22/2019 Transcript of Avenatti Judgment
          Debtor Examination (Part I) with Exhibit 60
          from Examination attached

  408     Exhibit 60 from the 3/22/2019 Avenatti
          Judgment Debtor Examination

  409     Intentionally Blank

  410     Intentionally Blank

  411     Intentionally Blank

  412     Intentionally Blank

  413     Intentionally Blank

  414     Intentionally Blank

  415     Intentionally Blank

  416     Intentionally Blank

  417     Intentionally Blank

  418     Intentionally Blank

  419     Intentionally Blank




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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

  420     Summary Financial Tracing Analysis: Total
          Amount Due to Geoffrey Johnson as of
          1/29/15

  421     Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: Tracing of
          Geoffrey Johnson’s Settlement Funds

  422     Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: Activities of
          EA Trust Account 8541 After Receiving
          Geoffrey Johnson’s Settlement Payment

  423     Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: Activities of
          EA Account 2851 After Receiving Portions of
          Geoffrey Johnson’s Settlement Payment from
          EA Trust Account 8541

  424     Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: Activities of
          A&A Account 0661 After Receiving Portions
          of Geoffrey Johnson’s Settlement Payment
          from EA Account 2851

  425     Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: Payments to
          Geoffrey Johnson

  426     Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: GB Account
          Funds Used to Make a Payment to Geoffrey
          Johnson on 4/7/16 EA 2851 Balance

  427     Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: GB Account
          Funds Used to Make a Payment to Geoffrey
          Johnson on 1/5/18 EA 3714 Balance




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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

  428     Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: GB Account
          Funds Used to Make a Payment to Geoffrey
          Johnson on 2/15/18 EA 4613 Balance

 429      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: A Portion of
          Michelle Phan’s Stock Repurchase Payment
          was Transferred to EA 0313... CNB 4705
          Balance

 430      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: Total Amount
          Due to Alexis Gardner as of 1/25/17 and
          November 2020

 431      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: Tracing of
          Alexis Gardner’s First Settlement Payment

 432      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: Activities of
          EA Trust Account 8671 After Receiving
          Alexis Gardner’s First Settlement Payment

 433      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: Payments to
          Alexis Gardner

 434      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: GB Account
          Funds Used to Make a Payment to Alexis
          Gardner on 4/14/17 A&A 0661 Balance

 435      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: GB Account
          Funds Used to Make a Payment to Alexis
          Gardner on 5/15/17 A&A 0661 Balance




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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

 436      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: GB Account
          Funds Used to Make a Payment to Alexis
          Gardner on 1/16/18 EA 3714 Balance

 437      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: GB Account
          Funds Used to Make a Payment to Alexis
          Gardner on 2/20/18 EA 4613 Balance

 438      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: A Portion of
          Michelle Phan’s Stock Repurchase Payment
          was Transferred to EA 4613... CNB 4705
          Balance

 439      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: Total Amount
          Due to Greg Barela as of 1/5/18 and January
          2021

 440      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: Tracing of Greg
          Barela’s First Settlement Payment

 441      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: Activities of
          CNB Trust Account 5566 After Receiving Greg
          Barela’s First Settlement Payment

 442      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: Payments to
          Greg Barela

 443      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: A Portion of
          Michelle Phan’s Stock Repurchase Payment
          was Transferred to EA 4613... CNB 4705
          Balance



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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

 444      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: Total Amount
          Due to Michelle Phan, Pratigya Phan, and
          Long Tran as of 3/14/18

 445      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: Tracing of
          Michelle Phan, Pratigya Phan, and Long
          Tran’s First Repurchase Payment

 446      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: Activities of
          CNB Trust Account 4705 After Receiving the
          First Repurchase Payment

 447      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: Tracing of
          Michelle Phan, Pratigya Phan, and Long
          Tran’s Second Repurchase Payment

 448      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: Activities of
          CNB Trust Account 4705 After Receiving the
          Second Repurchase Payment

 449      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: Activities of
          EA Trust Account 4613 After Receiving a
          Portion of the Second Repurchase Payment
          from CNB Trust Account 4705

 450      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: A Portion of
          Michelle Phan’s Stock Repurchase Payment
          was Transferred to EA 4613... CNB 4705
          Balance

 451      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: Total Amount
          Due to NFL Clients as of 5/17/17


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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

 452      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: Tracing NFL
          Clients’ First Settlement Funds

 453      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: Activities of
          CNB Trust Account 3512 After Receiving the
          First Settlement Funds

 454      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: Tracing NFL
          Clients’ Second Settlement Funds

 455      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: Activities of
          EA Operating Account 2851 After Receiving
          the Second Settlement Funds

 456      Summary Financial Tracing Analysis Exhibit
          Prepared by Analysis Group: Most Payments
          Made to Clients Were Not Directly from
          Their Settlements

 457      Summary Exhibit of Wire Transfers in
          Indictment

 458      Intentionally Blank

 459      Intentionally Blank

 460      Summary Exhibit of Payments Made to
          Geoffrey Johnson

 461      Summary Exhibit of Payments Made to Alexis
          Gardner

 462      Cellphone Tolls Summary Chart: Defendant’s
          Phone Calls with Geoff Johnson




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                  UNITED STATES v. MICHAEL JOHN AVENATTI
                            SA CR NO. 19-061-JVS
                         GOVERNMENT’S EXHIBIT LIST

EXHIBIT   DESCRIPTION                                          IDENT.   IN EVID.

 463      Cellphone Tolls Summary Chart: Defendant’s
          Phone Calls with Alexis Gardner

 464      Cellphone Tolls Summary Chart: Defendant’s
          Phone Calls with Greg Barela

 465      Cellphone Tolls Summary Chart: Defendant’s
          Phone Calls with Michelle Phan

 466      Cellphone Tolls Summary Chart: Defendant’s
          Phone Calls with Long Tran

 467      Cellphone Tolls Summary Chart: Defendant’s
          Phone Calls with Judy Regnier

 468      Cellphone Tolls Summary Chart: Defendant’s
          Phone Calls with Eagan Avenatti LLP




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